Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 1 of 12 PageID 61




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

   KATHLEEN HERALD,

          Plaintiff,                                    Case No.: 6:19-cv-00074
   v.

   DELTA AIR LINES, INC.,

         Defendant.
   ______________________________________/

                            DEFENDANT’S MOTION TO DISMISS

          Defendant, Delta Air Lines, Inc. (“Delta”), through its undersigned counsel and

   pursuant to Federal Rule of Civil Procedure 12(b)(6), respectfully moves this Court to

   dismiss the Complaint filed by Plaintiff, Kathleen Herald (“Plaintiff”).

          This is an employment discrimination case arising under the Family and Medical

   Leave Act (“FMLA”), 29 U.S.C. § 2601; the Americans with Disabilities Act (“ADA”), 42

   U.S.C. § 12100, et seq.; Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.S. §

   2000e-2, et seq.; and the Florida Civil Rights Act (“FCRA”), Fla. Stat. § 760.01, et seq. As

   shown below, Plaintiff’s Complaint should be dismissed in its entirety because she cannot

   state a claim for relief under the FMLA, and her other claims are time-barred for failure to

   exhaust her administrative remedies within the applicable time period. As a result, Delta

   asks the Court to dismiss the Complaint, award Delta its costs and attorneys’ fees incurred in

   this action, and award any other relief this Court deems just and proper.
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 2 of 12 PageID 62




                 FACTUAL BACKGROUND AND PROCEDURAL HISTORY

           1.     Delta employed Plaintiff as a Flight Attendant based in Orlando, Florida.

   (Compl. ¶ 2, Doc. 1).

           2.     Prior to December 28, 2016, Plaintiff had taken FMLA leave for her allergies.

   (Id. ¶ 12).

           3.     On December 28, 2016, Plaintiff experienced a sudden onset stomach illness,

   causing her to incur an unexcused absence. (Id. ¶ 11).

           4.     Plaintiff refused to request FMLA leave to excuse her December 28, 2016

   absence. (Id. ¶ 13).

           5.     According to Plaintiff, her manager encouraged her to use FMLA leave to

   cover her unexcused absence, but Plaintiff declined because she believed it would be

   “dishonest.” (Id.).

           6.     On or about January 27, 2017, Plaintiff was removed from service pending

   investigation into the unexcused absence. (Id. ¶¶ 15-17).

           7.     Plaintiff was terminated on February 21, 2017. (Id. ¶ 18).

           8.     On or about September 19, 2018, Plaintiff filed a Charge of Discrimination

   with the EEOC, alleging violations of the ADA, Title VII, and the FCRA. (See Exhibit A,

   Charge No. 510-2018-07089).

           9.     The last discrete act of alleged discrimination identified in Plaintiff’s charge

   occurred on the date of Plaintiff’s termination – February 21, 2017. (Id.).




                                                  2
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 3 of 12 PageID 63




          10.     On or about October 16, 2018, the EEOC issued a Dismissal and Notice of

   Rights, closing its investigation because Plaintiff’s charge was not timely filed. (See Exhibit

   B, EEOC Dismissal and Notice of Rights).

          11.     Plaintiff filed this action on January 11, 2019, alleging claims of FMLA

   interference and retaliation in Counts I and II, and claims of disability discrimination and

   retaliation under the ADA, Title VII, and FCRA in Counts III, IV, V, and VI. (Compl., Doc.

   1).

          12.     Delta waived service on January 28, 2019, and this Motion has been timely

   brought within 60 days of the date of the waiver of service. (Doc. 12)

                                   MEMORANDUM OF LAW

   I.     Standard of Review

          “A complaint may be dismissed if the facts as pled do not state a claim for relief that

   is plausible on its face.” Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1260 (11th Cir.

   2009) (citing Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)); Bell Atlantic v. Twombly, 550

   U.S. 544, 561-62 (2007). “The well-pled allegations must nudge the claim ‘across the line

   from conceivable to plausible.’” Sinaltrainal, 578 F.3d at 1261 (quoting Twombly, 550 U.S.

   at 570). If the factual allegations cannot be construed to establish a plausible cause of action,

   dismissal is appropriate. Marshall County Bd. of Educ. v. Marshall County Gas Dist., 992

   F.2d 1171, 1174 (11th Cir. 1993). “Accordingly, the court may dismiss a complaint pursuant

   to Federal Rule of Civil Procedure 12(b)(6) when, on the basis of a dispositive issue of law,

   no construction of the factual allegations will support the cause of action.” Id. Further, a

   complaint cannot be saved by conclusory allegations, unwarranted factual deductions, or




                                                  3
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 4 of 12 PageID 64




   legal conclusions masquerading as facts. Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185

   (11th Cir. 2003).

          In ruling on a Rule 12(b)(6) motion to dismiss, a court is generally limited to the four

   corners of the complaint, but a court may consider an outside document without converting

   the motion into one for summary judgment if that document is (1) central to plaintiff’s

   claims, and (2) undisputed, meaning the authenticity of the document is not challenged.

   Speaker v. United States HHS CDC & Prevention, 623 F.3d 1371, 1379 (11th Cir. 2010);

   Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005); Harris v. Ivax Corp., 182 F.3d 799,

   802, n.2 (11th Cir. 1999). Under this standard, courts routinely consider an EEOC charge

   and right-to-sue letter when ruling on a motion to dismiss. See, e.g., Lambert v. Alabama.

   Dept. of Youth Servs., 150 Fed. Appx. 990, 991-92 (11th Cir. 2005) (considering EEOC

   charge); EEOC v. STME, LLC, 309 F. Supp. 3d 1207, 1210, n.1 (M.D. Fla. 2018) (same);

   Gonzalez v. Envoy Air, Inc., No. 6:16-cv-802-Orl-40GJK, 2016 U.S. Dist. LEXIS 116979, at

   *3 n.1 (M.D. Fla. Aug. 31, 2016) (same); Brooks v. CSX Transp., Inc., Case No. 3:09-cv-

   379-J-32HTS, 2009 WL 3208708, at *5, n.6 (M.D. Fla. Sept. 29, 2009) (same).

   Consequently, in this case, the Court may consider Plaintiff’s EEOC charge and Notice of

   Dismissal, in addition to the allegations within the four corners of the Complaint, when

   ruling on this Motion because the documents are central to Plaintiff’s claims and their

   authenticity is not in question.

   II.    This Court Should Dismiss Counts I and II of the Complaint Alleging Violations
          of the FMLA Because Plaintiff Does Not State a Plausible Claim for Relief.

          As a prerequisite to bringing an FMLA claim, a plaintiff must have sought FMLA-

   qualifying leave. Hurley v. Kent of Naples, Inc., 746 F.3d 1161, 1167 (11th Cir. 2014).




                                                 4
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 5 of 12 PageID 65




   More specifically, “[i]n order to receive FMLA protections, one must be both eligible,

   meaning having worked the requisite hours, and entitled to leave, meaning an employee has

   experienced a triggering event.” Pereda v. Brookdale Senior Living Cmtys., Inc., 666 F.3d

   1269, 1272 (11th Cir. 2012).    Once the plaintiff has made this showing, she may bring an

   FMLA claim for interference, retaliation, or both. Id. To establish an FMLA interference

   claim, a plaintiff must show that she was denied a benefit to which she was entitled. Id. at

   1274. To establish an FMLA retaliation claim, a plaintiff must show that: (1) she engaged in

   a statutorily protected activity; (2) she suffered an adverse employment decision; and (3) the

   decision was casually related to the protected activity. Id. at 1275. A complaint is subject to

   dismissal under Rule 12(b)(6) if it does not allege facts demonstrating each of these

   elements. Rhodes v. WCA, No. 1:15-cv-187-MW-GRJ, 2015 U.S. Dist. LEXIS 173627, at *8

   (N.D. Fla. Dec. 10, 2015).

          Here, Plaintiff has not stated a claim for relief under the FMLA for three reasons.

   First, Plaintiff does not allege that she sought FMLA-qualifying leave.           Second, her

   FMLA interference claim is not plausible because she does not allege that she was entitled to

   FMLA leave or that Delta denied her FMLA leave to which she was entitled.           Third, her

   FMLA retaliation claim is not plausible because she does not allege that she engaged in

   protected activity under the FMLA. As a result, dismissal of Counts I and II is warranted.

          A.      Plaintiff does not allege that she sought FMLA-qualified leave.

          “Giving an employer notice of unqualified leave does not trigger the FMLA’s

   protection. Otherwise, the FMLA would apply to every leave request.” Hurley, 746 F.3d at

   1167. In Hurley, an employee who suffered from depression asked to take eleven weeks of




                                                 5
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 6 of 12 PageID 66




   vacation over the following two years. The employer denied the request, and Hurley brought

   suit under the FMLA. At trial, the jury found that Hurley was not terminated because he

   requested leave, but nevertheless awarded him $200,000 in damages. Id. at 1164-1166. On

   appeal, the employer argued that the trial court erred by denying the employer’s motion for

   judgment as a matter of law because Hurley did not qualify for FMLA leave in the first

   instance. Id. at 1166. The Eleventh Circuit agreed, vacating the jury award. The Court

   recognized that the FMLA only protects leave for “any period of incapacity or treatment due

   to a chronic serious health condition.” Id. at 1168 (citing 29 C.F.R. §825.115(c)). Because

   Hurley’s leave request was not for a period of incapacity, the request did not qualify for

   protection under the FMLA, and the trial court erred in permitting the claim to go to the jury.

   Id.

          The Eleventh Circuit’s decision in Hurley is consistent with its prior holding in

   Pereda. In Pereda, the Court found that “a pre-eligible employee has a cause of action if an

   employer terminates her in order to avoid having to accommodate that employee with

   rightful FMLA leave rights once the employee becomes eligible.” Pereda, 666 F.3d at 1275.

   Thus, to sustain a claim under the FMLA, there must be a showing that the employee is (or

   will be) eligible for leave and that the leave is needed for a qualifying health condition. See

   Johnson v. Baptist Health S. Fla., Inc., No. 16-23029-CIV, 2017 U.S. Dist. LEXIS 92360, at

   *26 (S.D. Fla. June 14, 2017).

          Turning to the facts of this case, Plaintiff’s FMLA claims arise from a single

   unexcused absence caused by an admittedly non-qualifying health condition.             In fact,

   according to Plaintiff, she knew that it would be “dishonest” to claim that her stomach illness




                                                 6
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 7 of 12 PageID 67




   was protected by the FMLA. (Compl. ¶ 13). The Complaint is devoid of any allegations

   demonstrating that Plaintiff was eligible for FMLA leave for her unexcused absence or that

   the absence was due to a qualifying illness as required to trigger the FMLA’s protections.

   Therefore, Counts I and II of the Complaint should be dismissed.

          Moreover, to the extent Plaintiff attempts to bring her claims within the protection of

   the FMLA based on a different FMLA-qualifying health condition (i.e., allergies), such

   attempt must likewise fail. Indeed, an employee who is qualified for FMLA leave for one

   condition cannot premise an FMLA claim on leave taken for a different, unqualified reason.

   Johnson, 2017 U.S. Dist. LEXIS 92360, at *28 (employee who took FMLA leave for

   qualifying reason and then sought to extend leave for adult son’s unqualified surgery could

   not bring claim premised on absences related to son’s surgery).

          In her Complaint, Plaintiff alleges that her allergies were a qualifying illness under

   the FMLA. (Compl. ¶ 12). Even if this allegation is assumed to be true for purposes of this

   Motion, Plaintiff cannot premise her FMLA claims in this case on her allergies because the

   unexcused absence that forms the basis of her claims involved an entirely different condition

   – a stomach illness – which was not a qualifying illness under the FMLA. Therefore, the

   allegations of the Complaint cannot state a claim for relief under the FMLA, and this Court

   should dismiss Counts I and II of the Complaint accordingly.

          B.     Plaintiff does not allege that she was denied a benefit under the FMLA to
                 which she was entitled as required to state a claim for FMLA
                 interference.

          To state an FMLA interference claim, an employee must request FMLA-qualified

   leave, which the employer denies. Martin v. Brevard Cty. Pub. Sch., 543 F.3d 1261, 1266-67




                                                 7
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 8 of 12 PageID 68




   (11th Cir. 2008); Strickland v. Water Works & Sewer Bd., 239 F.3d 1199, 1206 (11th Cir.

   2001). Otherwise, an FMLA interference claim should be dismissed. Duckworth v. Symon

   Says Enters., No. 8:13-cv-2829-T-33AEP, 2014 U.S. Dist. LEXIS 14912, at *9 (M.D. Fla.

   Feb. 6, 2014) (dismissing FMLA interference claim where complaint did not allege

   entitlement to FMLA leave or denial of such leave).             Importantly, an employer’s

   encouragement of an employee to take or request FMLA leave will not create an actionable

   interference claim. See Twillie v. Erie Sch. Dist., 575 F. App’x 28, 33 (3d Cir. 2014)

   (allegation that employer encouraged employee to take leave cannot sustain interference

   claim under FMLA).

          Here, Plaintiff does not allege that she sought FMLA-protected leave or that she was

   denied FMLA leave. Instead, she alleges that her supervisor encouraged her to take FMLA

   leave for an unqualified absence, but Plaintiff refused to seek FMLA leave.          Plaintiff

   concedes in her Complaint that, at the time of her unexcused absence, Plaintiff did not suffer

   from an FMLA-qualifying event. Further, she never asked to take FMLA leave or otherwise

   tried to invoke her rights under the FMLA. As a result, Plaintiff had no FMLA rights with

   which Delta could have possibly interfered, and dismissal of Count I is appropriate. See

   Seguin v. Marion County Health Dep’t, 2014 U.S. Dist. LEXIS 112110, at *34 (M.D. Fla.

   Aug. 13, 2014) (to state claim for FMLA interference, plaintiff must show she sought leave

   for FMLA-qualifying event).




                                                 8
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 9 of 12 PageID 69




          C.      Plaintiff does not allege facts which, if believed, demonstrate that she
                  engaged in protected activity as required to state a claim for FMLA
                  retaliation.

          In contrast to FMLA interference claims, FMLA retaliation claims require plaintiffs

   to show (1) protected activity, (2) an adverse employment decision, and (3) a causal relation

   between the two. Pereda, 666 F.3d at 1275. Under the FMLA, an employee cannot engage

   in protected activity without requesting leave. Sparks v. Sunshine Mills, Inc., 580 F. App’x

   759, 766 (11th Cir. 2014) (vague statement about possible surgery was not protected activity

   because it did not express specific need or desire to take FMLA leave); Martinez v. Mercedes

   Home Realty, Inc., No. 6:04-cv-1467-Orl-31JGG, 2005 U.S. Dist. LEXIS 24139, *17 (M.D.

   Fla. Oct. 17, 2005). Nor does declining to request FMLA leave constitute protected activity.

   Finch v. Morgan Stanley & Co. LLC, No. 15-81323-CIV, 2016 U.S. Dist. LEXIS 106305, at

   *13 (S.D. Fla. Aug. 10, 2016) (granting motion to dismiss on FMLA retaliation claim

   because it was not protected activity for employee to ignore employer’s repeated reminders

   of FMLA rights).

          The allegations of Plaintiff’s Complaint confirm that (i) she was not eligible to take

   FMLA leave for her non-qualifying stomach illness; (ii) she did not request FMLA leave to

   cover her unexcused absence; and (iii) she refused the alleged suggestion of her supervisor to

   request FMLA leave for a non-qualifying reason. Therefore, Plaintiff did not engage in

   protected activity under the FMLA as required to state claim of retaliation, and this Court

   should dismiss Count II accordingly.




                                                 9
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 10 of 12 PageID 70




   III.   This Court Should Dismiss Counts III, VI, V, and VI of the Complaint Alleging
          Violations of the ADA, Title VII, and the FCRA Because Plaintiff’s Claims Are
          Time-Barred.

          Prior to bringing discrimination claims under the ADA and Title VII, a plaintiff must

   first exhaust the available administrative remedies by filing a charge with the EEOC before

   filing suit. Anderson v. Embarq/Sprint, 379 F. App’x 924, 926 (11th Cir. 2010)

   (unpublished); E.E.O.C. v. Joe’s Stone Crab, Inc. 296 F.3d 1265, 1271 (11th Cir. 2002).

   Similarly, FCRA claims must be brought before the EEOC or Florida Commission on

   Human Relations (“FCHR”) prior to bringing a lawsuit. Curry v. Bank of Am., N.A., No.

   8:11-cv-1904-T-33MAP, 2012 U.S. Dist. LEXIS 169482, at *6-7 (M.D. Fla. Nov. 29, 2012).

   In a deferral state, such as Florida, a plaintiff must file a charge with the EEOC within 300

   days of the alleged discrimination. Bender v. Miami Shores Vill., 578 F. App’x 822, 824

   (11th Cir. 2014); Joe’s Stone Crab, Inc., 296 F.3d at 1271. A state charge must be filed

   within 365 days of the alleged violation. Curry, 2012 U.S. Dist. LEXIS 169482, at *6-7; Fla.

   Stat. § 760.11(1). A claim that was not timely submitted during the charge-filing period

   should be dismissed. Joe’s Stone Crab, Inc. 296 F.3d at 1271; see Gonzalez, 2016 U.S. Dist.

   LEXIS 116979, at *5 (granting motion to dismiss where complaint did not allege

   discrimination within 300-day charge-filing period); Sims v. Smart City Telcoms., LLC, No.

   6:08-cv-261-Orl-18GJK, 2008 U.S. Dist. LEXIS 66798, at *6 (M.D. Fla. July 31, 2008)

   (granting motion to dismiss where plaintiff filed EEOC charge 354 days after alleged

   discrimination took place).

          Here, Plaintiff alleges discrimination arising from her unexcused absence on

   December 28, 2016, from being withheld from service on January 27, 2017, and from being




                                                10
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 11 of 12 PageID 71




   terminated on February 21, 2017. Thus, the last act of alleged discrimination described in

   Plaintiff’s charge occurred on February 21, 2017. Plaintiff did not file her charge, however,

   until September 19, 2018 – a full 575 days after the termination of her employment. (See

   Exhibit A). As a result, all of the allegations asserted in the charge are time-barred, and this

   Court should dismiss Counts III, IV, V, and VI with prejudice.1

                                                  CONCLUSION

            WHEREFORE, Defendant Delta Air Lines, Inc., respectfully requests that this Court

   dismiss Plaintiff’s Complaint with prejudice and award Defendant its costs and attorneys’

   fees incurred in this action and any such other relief that this Court deems just and proper.


            Dated: March 12, 2019.




   1
     The EEOC recognized that Plaintiff’s charge was untimely in the Notice of Dismissal. (See Exhibit B.)
   Furthermore, there are no allegations in the charge or in the Complaint that could demonstrate a basis for the
   extraordinary remedy of equitable tolling or estoppel. Moreover, even if Plaintiff had exhausted her
   administrative remedies prior to bringing her suit, Plaintiff’s thread-bare allegations would not state a claim for
   relief under the ADA, Title VII, or the FCRA under any cognizable legal theory.




                                                          11
Case 6:19-cv-00074-GAP-GJK Document 21 Filed 03/12/19 Page 12 of 12 PageID 72




                                              Respectfully submitted,


                                              By:/s/ Marilyn G. Moran
                                                 Marilyn G. Moran
                                                 Florida Bar No.: 0163813
                                                 Email: mmoran@fordharrison.com

                                                  FORD & HARRISON LLP
                                                  300 South Orange Avenue, Suite 1300
                                                  Orlando, FL 32801
                                                  (407) 418-2300 Telephone
                                                  (407) 418-2327 Facsimile

                                                  Counsel for Defendant
                                                  Delta Air Lines, Inc.



                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 12, 2019, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system, which will send a notice of

   electronic filing to:

   Brian R. Mildenberg                       Matthew B. Weisberg
   MILDENBERG LAW FIRM                       Weisberg Law
   1735 Market St                            7 South Morton Ave.
   Suite 3750                                Morton, PA 19070
   Philadelphia, PA 19103                    610/690-0801
   215/545-4870                              Fax: 610/690-0880
   Fax: 215/545-4871                         Email: mweisberg@weisberglawoffices.com

   Gary Schafkopf
   11 Bala Ave.
   Bala Cynwyd, PA 19004
   610/664-5200 Ext. 104
   Fax: 888/283-1334
                                              /s/ Marilyn G. Moran
                                              Marilyn G. Moran

   WSACTIVELLP:10423078.1




                                             12
